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      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY
      WILENTZ, GOLDMAN & SPITZER, P.A.
      90 Woodbridge Center Drive
      Suite 900, Box 10
      Woodbridge, NJ 07095
      732-636-8000
      DAVID H. STEIN, ESQ.
      Attorneys for Debtor
      In Re:                                                Case No.: 21-14934 (KCF)

      DUKAT, LLC, ,                                         Chapter 11 (Subchapter V)

                               Debtor.                      Hon. Kathryn C. Ferguson

                                                            Hearing date: October 26, 2021
                                                                          at 10:00 a.m.

              NOTICE OF DEBTOR’S MOTION TO ESTIMATE AND/OR FIX CLAIM
              OF TARVISIUM HOLDINGS, LLC AND 45N12E, LLC PURSUANT TO 11
              U.S.C. § 502(c)(1) AND FED. R. BANKR. P 3018 (a)

      TO:     Seth M. Rosenstein
              Ansell Grimm & Aaron, P.C.
              365 Rifle Camp Road
              Woodland Park, NJ 07424
              Attorneys for Tarvisium Holdings, LLC and
              45N12E, LLC

              PLEASE TAKE NOTICE that on October 26, 2021, at 10:00 a.m., or as soon

      thereafter as counsel may be heard, Dukat, LLC (the “Movant”), by and through its counsel,

      Wilentz, Goldman & Spitzer, P.A., shall move before the Honorable Kathryn C. Ferguson,

      United States Bankruptcy Judge, at the United States Bankruptcy Court for the District of

      New Jersey, U.S. Courthouse, 402 East State Street, Trenton, New Jersey 08608, for entry of

      an Order pursuant to Section 502(c)(1) of the Bankruptcy Code and Fed. R. Bank. P.3018(a)

      estimating and/or fixing the claim of Tarvisium Holdings, LLC and 45N12E, LLC (the

      “Motion”).




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              PLEASE TAKE FURTHER NOTICE that in support of the within Motion, the

      Movant shall rely upon the Certification of David H. Stein, Esq. and Memorandum of Law

      submitted herewith, oral argument of counsel, if any, the record of the proceedings, and such

      testimony as the Court shall require or allow.

              PLEASE TAKE FURTHER NOTICE that, objections, if any, to the relief

      requested must be made in writing and in the form prescribed by the Federal Rules of

      Bankruptcy Procedure and the District of New Jersey Local Bankruptcy Rules, and must be

      filed with this Court and served upon counsel to the Movant, Wilentz, Goldman & Spitzer, 90

      Woodbridge Center Drive, Woodbridge, New Jersey 07095 (Attn: David H. Stein, Esq.) so

      as to be received within the time required by the Rules of Court.

              PLEASE TAKE FURTHER NOTICE that, in the event that timely objections are

      not filed with the Court and served upon the undersigned counsel as provided in District of

      New Jersey Local Bankruptcy Rule 9013-2(a)(2), the Motion shall be deemed uncontested

      and the Court may, in its discretion, grant the requested relief.

              PLEASE TAKE FURTHER NOTICE that, in accordance with District of New

      Jersey Local Bankruptcy Rule 9013-3, unless timely objections are filed and served upon the

      appropriate parties, the applicant submits to disposition on the papers.



                                                     WILENTZ, GOLDMAN & SPITZER, P.A.
                                                     Attorneys for Debtor, Dukat, LLC

                                                             /s/ David H. Stein
                                                     By:                                        __
                                                             DAVID H. STEIN, ESQ.
      Dated: September 23, 2021




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